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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

VC MACON GA, LLC                                 )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )              Civil Action No.
                                                 )            5: 18-cv-00388-TES
VIRGINIA COLLEGE, LLC; and                       )
EDUCATION CORPORATION OF                         )
AMERICA,                                         )
                                                 )
        Defendants.                              )

      ORDER AMENDING BRIEFING SCHEDULE AS TO RECEIVER'S MOTION TO
     CONFIRM AND APPROVE SETTLEMENT, AND FOR ENTRY OF A BAR ORDER,
                         AND FINDINGS OF FACT

        Before the Court is Receiver John F. Kennedy's ("Receiver") Motion for Expedited

Briefing Schedule and Hearing (Doc. 530) for his Motion to Confirm and Approve Settlement,

and for Entty ofa Bar Order, and Findings of Fact (Doc. 529) Upon review, the Court GRANTS

the Receiver's Motion for Expedited Briefing Schedule and Hearing (Doc. 530) and adopts the

Receiver's expedited briefing and hearing schedule as submitted in his Motion. Accordingly, the

Court AMENDS the briefing schedule as follows:

        1.   Any party desiring to file a response or objection to the Receiver's Motion to Confirm
             and Approve Settlement, and for Entry of a Bar Order, and Findings of Fact shall file
             such response no later than Friday, December 30, 2022.
        2. A hearing is to be set for Tuesday, JanumJJ 3, 2023, at 10:00 a.m. concerning the
             Confirmation Motion, any potential objections, and       ther related pending motions.
        SO ORDERED, this 19th day of December, 202



                                                     TILMAN E. SELF, III, J
                                                     UNITED STATES DIS
